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April 25, 2019

Via ECF

Hon. Leda Dunn Wettre, U.S.M.J.

U.S. District Court

Martin Luther King, Jr. Federal Bldg. and Courthouse
50 Walnut St.

Newark, NJ 07102

Re: Aberdeen Canada Funds — Global Equity Fund

v. Perrigo Company ple, et al.
Civil Action No. 2:19-cv-6560

Dear Judge Wettre:

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This firm, together with Fried, Frank, Harris, Shriver & Jacobson LLP, represents

defendant Perrigo Company plc in the above-referenced matter.

I am pleased to report that all counsel in this matter have agreed on a form of Stipulation
and [Proposed] Discovery Confidentiality Order. The form of Stipulation and [Proposed] Order
is similar to the Stipulation and Discovery Confidentiality Order entered by your Honor in the
class action, Roofer’s Pension Fund adv. Papa, et al., Civil Action No. 2:16-cv-2805 (Document

 

No. 151).

If the form of the Stipulation meets with your Honor’s approval, kindly enter it as an

Order and have it filed in each of the above-referenced matters.

y

Alan S. Naar

 
  

  

ASN:cd
Enclosure
ce: All Counsel (via ecf)
